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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                              Complainant,
              v.
                                                                Criminal Case No.
ZACHARY REHL
                                                                1:21-cr-00175-TJK-3

(Styled as USA v. NORDEAN incorporating cases
against four Defendants collectively)

                              Accused


    NOTICE BY ACCUSED ZACHARY REHL REGARDING ACCESS TO COURT
          HEARINGS FROM PHILADELPHIA DETENTION CENTER

         Comes now the Accused ZACHARY REHL, by counsel, and provides the following

information and NOTICE and request for administrative / housekeeping assistance from the

Court.

         Katrina Harris, Courtroom Deputy to the Honorable Timothy J. Kelly, U.S. District Court

for the District of Columbia notified the parties that – from a communication from the

Philadelphia Detention Center where Zachary Rehl is in pre-trial detention – that the PDC could

not accommodate Zachary Rehl’s remote participation in the hearing scheduled for October 26,

2021, at 11:00 AM.

         Ms. Harris after receiving response from the parties, rescheduled the 11:00 AM hearing

to 10:00 AM on October 26, 2021. Rehl, by counsel, accepts and can work with this schedule.

         However, after the last time this was a difficulty, counsel for Rehl investigated this

problem and discussed it with Zachary Rehl.

         The Philadelphia Detention Center appears to be applying an arbitrary and capricious
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concept that it can only schedule a maximum of a 1 hour slot for an inmate’s remote access to

hearings. Counsel believes their approach to be sincere, but misguided in applying generalized

limitations to court hearings.

       Counsel in visiting Zachary Rehl in person at least 6 times in the PDC has observed that

the PDC does not seem to differentiate between family visits, attorney visits, or court hearings,

except that the detention center staff have been pleasant and has allowed counsel to meet with

Zachary Rehl in semi-private attorney consultation rooms.

       However, the PDC does not seem to treat court hearings differently from family visits.

       Zachary Rehl, as filtered through counsel under the attorney-client privilege, asserts and

complains that the PDC is able to accommodate remote access to court hearings, but is somehow

under the misunderstanding that it should apply an arbitrary 1 hour limit on remote access to

court proceedings, without distinguishing the needs for the court from routine, regular access.

       Rehl is a witness to the fact that ahead of court hearings he has participated in, the remote

access technology facilities were always not in use by anyone else and that after his access was

terminated, and he was waiting for transport back to his cell, no one was using or preparing to

use the remote-access technology after him

       That is, complaints that the PDC cannot accommodate the Court’s schedule are not

accurate or are true only in the sense that PDC staff believes it should apply an arbitrary 1 hour

limit on the use of its technological facilities without regard to the needs of this or other Courts.

       For example, during this Court’s last status hearing, the Court directed for completeness

of consideration that Rehl’s counsel and Rehl discuss matters (I believe the speedy trial

exclusion request) privately over the link. When PDC staff noticed that Rehl’s counsel and Rehl

were talking privately without the trial judge, the Honorable Timothy Kelly, the PDC staff




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interpreted that conversation as being outside of the scope of the allowed link access, and

terminated the link. (Fortunately, by accident, Rehl and counsel were just finishing that

conversation and it did not affect the Court’s proceedings. But it did reveal the PDC categorizing

the use of its remote access link under a narrow administrative interpretation.)

       Rehl reports through counsel that there are also telephone booths that could be used for

Rehl to listen in to court hearings where he is represented by counsel.

       Next week, PDC staff has been very helpful in offering to allow Rehl to participate

through the use of a CO office. However, they are not sure if the Court needs to issue them a

separate log in link to allow Rehl to participate.

       Counsel is especially concerned about this.

       As of June, reports in the news from government sources revealed that around $1 trillion

of COVID-related funds had not yet been spent (which counsel interprets as not being allocated

to a purpose, even if appropriated, counsel having once worked in the Executive Office of a

domestic federal agency office allocating and committing appropriated funds at the direction of

the Executive Officer).

       While counsel does not know if any the $1 trillion in unspent COVID-related funds has

been appropriated to the Bureau of Prisons, the re-programming of appropriated funds as needed

to similar purposes is legally permissible.

       The use of remote access video links for court hearings is a relatively novel development

over the last few years, but has been explicitly expanded to limit the spread of COVID-19,

especially where jails and courthouses are high-traffic areas heavily traveled by large numbers of

people. Therefore, allowing the use of remote-access participation for court hearings, especially

when supervised by official personnel, is a direct benefit for avoiding the spread of COVID-19.




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       Therefore, counsel is particularly baffled and concerned that a relatively small amount of

COVID
COVID--19
       19 relief funds from the 2020 budget and now planned for the 2021 fiscal year and

supplemental funding cannot be made available to repair the remote access facilities that was

reported in another federal district during the last hearing and to make the remote acces
                                                                                    accesss

facilities work to full capacity in Philadelphia.

       It would be good if the administrative staff and/or chief judge could make request that

adequate funding be provided to ensure remote acc
                                              access
                                                  ess to hearings while protecting against the

spread of COVID
          COVID--19,
                 19, in keeping with the Order of the Chief Judge of this Court

       The
       The August 25, 2021, Order of this Court (the District as a whole by the Chief Judge
                                                                                      Judge))

emphasizes that the use of video conferencing is ordered to be expanded during the threat of viral

pandemic. In the paragraph “Extension of Videoconferencing Authorization for Certain

Criminal Proceedings,” too lengt
                           lengthy
                                 hy to quote in excerpt, the Chief Judge of this District

authorized videoconferencing for another 90 days while giving considerable detail and

identifying exceptions that may require in
                                        in-person
                                           person hearings. Id.

Dated: October 21, 2021                RESPECTFULLY SUBMITTED
                                                    SUBMITTED,
                                       ZACHARY REHL, by counsel




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 21, 2021, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
filing to the following CM/ECF participant(s), and also mailed a copy to the following by first
class U.S. mail, postage prepaid, one single copy to the prosecution for distribution internally to
all counsel involved for the proseuction. From my review of the PACER / ECF docket records
for this case that the following attorneys will receive notice through the ECF system of the U.S.
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